CaseCase
     5:23-cv-00626-XR
         5:23-cv-00626 Document
                       Document2-10
                                10-10Filed
                                         Filed
                                            05/15/23
                                               10/15/23
                                                      PagePage
                                                           1 of 6
                                                                1 of 6




           Exhibit 10
CaseCase
     5:23-cv-00626-XR
         5:23-cv-00626 Document
                       Document2-10
                                10-10Filed
                                         Filed
                                            05/15/23
                                               10/15/23
                                                      PagePage
                                                           2 of 6
                                                                2 of 6
CaseCase
     5:23-cv-00626-XR
         5:23-cv-00626 Document
                       Document2-10
                                10-10Filed
                                         Filed
                                            05/15/23
                                               10/15/23
                                                      PagePage
                                                           3 of 6
                                                                3 of 6
CaseCase
     5:23-cv-00626-XR
         5:23-cv-00626 Document
                       Document2-10
                                10-10Filed
                                         Filed
                                            05/15/23
                                               10/15/23
                                                      PagePage
                                                           4 of 6
                                                                4 of 6
CaseCase
     5:23-cv-00626-XR
         5:23-cv-00626 Document
                       Document2-10
                                10-10Filed
                                         Filed
                                            05/15/23
                                               10/15/23
                                                      PagePage
                                                           5 of 6
                                                                5 of 6
CaseCase
     5:23-cv-00626-XR
         5:23-cv-00626 Document
                       Document2-10
                                10-10Filed
                                         Filed
                                            05/15/23
                                               10/15/23
                                                      PagePage
                                                           6 of 6 of 6
